             Case 1:17-cv-01894-ACA Document 27 Filed 03/22/19 Page 1 of 2                FILED
                                                                                 2019 Mar-22 PM 01:57
                                                                                 U.S. DISTRICT COURT
                                                                                     N.D. OF ALABAMA


                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ALABAMA
                              EASTERN DIVISION

JOSEPH WILLIAMS and                          )
REBECCA WILLIAMS,                            )
                                             )
                  Plaintiffs,                )
                                             )
                                                       CIVIL ACTION NO.
v.                                           )
                                                       1:17-cv-01894-ACA
                                             )
NATIONSTAR MORTGAGE, LLC                     )
d/b/a MR. COOPER,                            )
                                             )
                  Defendant.                 )

             JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

            Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure,

Plaintiffs Joseph Williams and Rebecca Williams and Defendant Nationstar

Mortgage, LLC d/b/a Mr. Cooper by and through their undersigned counsel,

having reached an amicable resolution of their dispute, stipulate and agree that all

claims in this action should be dismissed, with prejudice, costs and fees taxed as

paid.

            Respectfully submitted this 22nd day of March, 2019.

SO STIPULATED.

COUNSEL FOR DEFENDANT:

/s/ Ginny Willcox Leavens




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